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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:08CR183
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
RONALD PROKUPEK and                          )
CHRISTINE McGLOTHLEN,                        )
                                             )
             Defendants.                     )

      This matter is before the Court on the Opinion and Judgments of the Eighth Circuit

Court of Appeals.

      IT IS ORDERED:

      1.     The convictions in this case against the Defendants, Ronald Prokupek and

             Christine McGlothlen, are vacated; and

      2.     The Clerk is directed to deliver a copy of this order to the U.S. Marshal for

             this District.

      DATED this 17th day of February, 2011.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
